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                     Case 3:12-cr-03265-DMS                          Document 77                     Filed 06/05/15                        PageID.253                      Page 1 of 2
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                ~o 245D (CASD)      (Rev. 4/14) Judgment in a Criminal Case for Revocations
                          Sheet I
                                                                                                                                                                    FII F:: r~)
                                                          UNITED STATES DISTRICT COUR'fOl5 JUN -5 PI~ 12: lIB
                                                                SOUTHERN DISTRICT OF CALIFORNIA                                                               ,           ,-}, :):SlHiGi counr

                             UNITED STATES OF AMERICA                                                    JUDGMENT IN A                            C~:~NAtt~~;~'Il~~I~::'
                                                     V.                                                   (For Revocation of Probation or Supervised Release)
                                     SUSETTE DAVIS (1)                                                    (For Offenses Committed On or After November 1, 1987)


                                                                                                          Case Number: 12CR3265-DMS

                                                                                                           Nathan Feneis FD
                                                                                                          Defendant's Attorney
                REGISTRATION No. 34355298
      o THE DEFENDANT:
        o admitted guilt to violation of aHegation(s) No.                    ~I~(~Jc::u:::dl::·cc::ia::l.!N.::o:::t::ic~e..:T~a:::k::::en::..::o:!.f.::C:::o:::n,,-v::ic:::ti::::o.::n),-_ _ _ _ _ _ _ _ _ _ _ _ _ __

                D was found in violation ofallegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
                ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following aHegation(s):

                Allegation Number                  Nature of Violation
                                         Committed a federal, state or local offense (nvl)




               Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                                                   __
                                                                                                                                                                   2_ ofthis judgment.
            This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


                      IT IS ORDERED that the defendant shall notity the United States Attorney for this district within 30 days of any
            change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
            fully paid. If ordered to pay restitution, the defendant shall notity the court and Umted States Attorney of any material change in the
            defendant's economic circumstances.

                                                                                                          JUNE 5, 2015
                                                                                                         Date of Imposition of Sentence




                                                                                                         HON. DANAM. SABRAW
                                                                                                         UNITED STATES DISTRICT JUDGE




                                                                                                                                                                                    12CR3265-DMS
     '-:'
                 Case 3:12-cr-03265-DMS                      Document 77            Filed 06/05/15     PageID.254        Page 2 of 2
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       AO 2450 (CASO) (Rev. 4114) Judgment in a Criminal Case for Revocations
                  Sheet 2   Imprisorunent

                                                                                                           Judgment-Page _--=.2_ of    2
            DEFENDANT: SUSETTE DAVIS (I)
            CASE NUMBER: 12CR3265-DMS
                                                                        IMPRISONMENT
                  The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
                  FIVE (5) MONTHS consecutive to sentence in 15cr0381-CAB.




               o The court makes the following recommendations to the Bureau of Prisons:

               o The defendant is remanded to the custody of the United States Marshal.
               o The defendant shall surrender to the United States Marshal for this district:
                    Oat                                      Oa.m.          Op.m.    on _ _ _ _ _ _ _ _ _ __

                        as notified by the United States Marshal.

               o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                  o befure _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  o as notified by the United States Marshal.
                  o as notified by the Probation or Pretrial Services Office.
                                                                                RETURN

            I have executed this judgment as follows:

                  Defendant delivered on                                                     to

            at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                        UNITED STATES MARSHAL


                                                                                    By _ _ _ _ _~~~----------
                                                                                                     DEPUTY UNITED STATES MARSHAL




                                                                                                                                12CR3265-DMS
